Case 3:18-cv-OO493-|\/|AS-LHG Document 195 Filed 04/12/19 Page 1 of 14 Page|D: 5001

NOT FOR PUBLICATION

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

al

VALEANT PHARMACEUTICALS
INTERNATIONAL, INC., et al.,

Plaintiffs, Civil Action No. 18-493 (MAS) (LHG)
v_ MEMORANDUM OPINION
AIG INSURANCE COMPANY OF
CANADA, et al.,
Defendants.

 

 

SHIPP, District Judge

This matter comes before the Court upon Defendant Temple Insurance Company’s
(“Ternple”) Partial Motion to Dismiss Counts One, Fi\-'e, and Seven of Plaintiffs Valeant
Pharmaceuticals International, Inc., Valeant Pharmaceuticals Intemational, and AGMS, Inc.’s
(collectively, “Valeant”) Complaint pursuant to Federal Rule of Civil Procedure lZ(b)(l)] (the
“Motion”). (ECF No. 155.) Defendant Certain Underwriters Lloyd’s, London subscribing to
Policy No. QB146013 (“MS Amlin”)2 also moved for dismissal of Counts One, Five, and Seven
on the same grounds Temple asserted. (ECF No. 161.) Valeant opposed the motions (ECF
No. 164), and Temple replied (ECF No. 166). The Court has carefully considered the parties’
submissions and decides the matter without oral argument pursuant to L'ocal Civil Rule 78.1. For
the reasons stated below, Temple’s motion is granted in part and denied in part, and MS Amlin’s

motion is granted in part and denied in part.

 

' All Subsequent references to a Rule is a reference to a Federal Rule of Civil Procedure.

2 MS Amlin, Was improperly pled as Lloyd’s Syndicate Mitsui 3210.

Case 3:18-cv-OO493-|\/|AS-LHG Document 195 Filed 04/12/19 Page 2 of 14 Page|D: 5002

I. BACKGROUND

This action arises out of Valeant’s purchase of liability insurance policies from
Defendants.3 (See generally Ex. A (“Compl.”), ECF No l-l.) Valeant obtained a series of
insurance policies providing 3150 million in coverage for the period September 28, 2013 to
September 28, 2014 for claims made against Valeant and its officers and directors (the “2013-2014
Prog;l"am”).4 (ld. 111[ 3-4.) Valeant also obtained a similar series of policies providing $175 million
in coverage for the period September 28, 2015 to September 28, 2016 (the “2015-201 6 Program”).
(Ia’.) AIG Insurance Company of Canada (“AIG”) issued the primary policy under the 2013-2014
Program, providing a coverage limit of $10 million with a 35 million deductible (the “AIG
Policy”). (Ia'. 1l 37.) Only the 2013-2014 Program is at issue in the instant motions

As part ofthe 2013-2014 Program, pursuant to Policy No. LIA105678, as the eleventh-tier
insurer, Temple is to provide Valeant $15 million in coverage after Valeant has exhausted $130
million in coverage under the primary AIG policy (the “Temple Policy”). (Id. 1] 38.) MS Amlin,
as the twelfth-tier insurer, pursuant to Policy No. QB146013, is to provide Valeant $10 million in
coverage after Valeant has exhausted 3145 million in coverage under the primary AIG policy and

the first eleven tiers (the “MS Arnlin Policy”). (Id.) The excess policies in the 2013-2014 Program

 

3 Defendants are the tiered insurers, the first being the primary policy insurer: AIG Insurance
Company of Canada (“AIG”); ACE INA Insurance Company; Allianz Global Risl<s US Insurance
Company; Arch Insurance Canada Ltd.; Everest Insurance Cornpany of Canada; Hartford Fire
Insurance Company; lronshore Canada Ltd.', Liberty Intemational Underwriters, a division of
Liberty Mutual Insurance Company; Liberty Mutual Insurance Company; Lloyd’s Underwriters;
Lloyd’s Consortium 9885 (a/k/a Starr Financial Lines Consortium 9885); Lloyd’s Syndicate ANV
1861; Lloyd’s Syndicate AMA 1200; Lloyd’s Syndicate ARGO 1200; Lloyd’s Syndicate AWH
2232; Lloyd’s Syndicate BRT 2987; Lloyd’s Syndicate CVS 1919; Lloyd’s Syndicate HCC 4141;
Lloyd’s Syndicate Mitsui 3210; Lloyd’s Syndicate MIT 3210; Lloyd’s Syndicate NAV 1221;
Lloyd’s Syndicate QBE 1886; Lloyd’s Syndicate SJC 2003; Royal & Sun Alliance Insurance
Company of Canada; Temple; and XL Insurance Company Se (collectively, “Defendants”). (See
generally COmpl. at l.)

4 The Court refers to the insurers vvhose policies are included in the 2013-2014 Program as the
“2013-2014 Insurers.”
2

Case 3:18-cv-00493-|\/|AS-LHG Document 195 Filed 04/12/19 Page 3 of 14 Page|D: 5003

provide that, except where they provide otherwise, the excess insurers were bound to the “same
insuring clauses, definitions, terms and conditions, exclusions, cancellation provisions and all
other provisions of the” AIG Policy. (`Id. ll 39.) The primary policy issued by AIG contains a
“Conformance to Law” clause declaring that the policy would conform to the governing laws in
the Canadian province of Quebec. (Id. 1l 42.) The MS Amlin Policy, the Temple Policy, and the
other excess policies each contain a choice of law clause that provides:

lt is understood and agreed by both the Insured and Underwriter(s) that the

governing law and any dispute concerning the interpretation of the policy shall be

governed by the law of the province in Canada in which this policy is issued.
(Ia’. 11 43.) The policies comprising the 2013-2014 Program were issued in Quebec. (Ia’.)

The AIG Policy, inter alia, obligates AIG to “pay the Loss of any Organization: . . . arising
from any Securities Claim . . . made against any such Organization for any wrongful act of such
Organization.”5 (Ex. B at l (“AIG Policy”), ECF No 155-4.) A “loss” includes “darnages,
settlements, judgments (including pre/post-judgment interest on a covered judgment), Defense
Costs, Crisis Loss, Derivative Investigation Costs, Liberty Protection Costs and Pre-Claim
Inquiry Costs . . . .” (Id. at 22.) Valeant and certain subsidiaries are included in the definition of
an “Organization.” (la'. at 23.) The AIG Policy defines “Defense Costs” as “reasonable and
necessary fees, costs and expenses consented to by the Insurer . . . resulting solely from: . . . the
investigation, adjustment, defence and/or appeal cfa Claim against an Insured . . . .” (Id. at 18.)
Pursuant to the AIG Policy, Valeant “shall defend and contest any claim made against [it,]” and
AIG “does not assume any duty to defend or investigate.” ([ci'. at 8.) The AIG Policy contains a
“Conformance to Law” clause that provides:

Coverage under this policy shall not be provided to the extent prohibited by any

law. Where this policy is legally required to be interpreted in accordance with the
law of the Province of Quebec: . . . The policy provision shall be deemed to be

 

5 The AIG Policy identifies defined terms in bold.
3

Case 3:18-cv-00493-|\/|AS-LHG Document 195 Filed 04/12/19 Page 4 of 14 Page|D: 5004

amended to comply with the applicable mandatory provision of the Quebec Civil
Code, but only to the extent necessary to comply with such mandatory provisions
of the Quebec Civil Code and only to the extent that such mandatory provisions are
contrary to the existing terms of the policy.

(rd. ar 16.)

On December 16, 2014, “lValeant] and Valeant’s former CEO Michael Pearson
[(“Pearson”)] were named as defendants in a class action lawsuit brought by former shareholders
of Allergan[, Inc.]” (the “Allergan Action”). (Compl. ll 72.) Originally filed in the United States
District Court Central District of California as Anthony Basz'le, et al. v. Valeant Pharinaceutr`cals,
international Inc., et al., No. 2:14-cv-02004 (C.D. Ca.), the class action was consolidated after
appointment of representative plaintiffs in In re Allergan, Ine. Proxy Violrrtion Securr'tz`es
Lz'tr'gation, No. 8:14-cv-2004 (C.D. Ca.). (Icl.) On June 28, 2017, a related class action, Timber
Hz`ll LLC individually and an behalf of others St'rnilarly situated v. Pershz`ng Square Capital
Management, LP, et al., No. 17-4776 (C.D. Cal.), was filed against Valeant and Pearson. (Icl.)
Collectively, these suits comprise the “2013-2014 Claims”. (Icl.)

Valeant timely provided the 2013-2014 lnsurers notice of the 2013-2014 Claims. (Icl.
ll 78.) Valeant has incurred substantial defense costs associated with defending the 2013-2014
Claims. (Icl. ll 79.) The 2013-2014 lnsurers denied Valeant coverage for the 2013-2014 Claiins

- and associated defense costs. (Id. llll 81, 84.)

On December 7, 2017, Valeant filed the instant action in the Superior Court of New Jersey,
Somerset County, Law Division. (Not. of Removal ll l, ECF No. l.) In Count One, Valeant seeks
a declaratory judgment that:

(l) The [2013-2014] lnsurers are required to pay the costs Plaintiffs have incurred,

and continue to incur, in defending against the [2013~2014 Claims] and (2) either

AIG as the Primary lnsurer or all of the [2013-2014 lnsurers] on a several basis are

required to pay the costs Plaintiffs have incurred and continue to incur, in defending
against the [2013-2014 Claims] without reducing the limits available under the

Case 3:18-cv-00493-|\/|AS-LHG Document 195 Filed 04/12/19 Page 5 of 14 Page|D: 5005

[2013-2014 Program], together with whatever further relief the Court deems just
and proper.

(Compl. ll 95.) In Count Five, Valeant seeks a declaratory judgment that the 2013-2014 Claims
are covered under the 2013-2014 Program. (Icl. ll 120.) Count Seven is a breach of contract claim
against all insurers in the 2013-2014 Program. (la’. llll 126-29.)

On January 12, 2018, Defendant l-lartford Fire Insurance Company removed the matter to
this Court. (Not. of Removal llll 5-6.) On December 14, 2018, Temple filed the instant motion
seeking dismissal of Counts One, Five, and Seven for lack of subject matter jurisdiction under
Rule 12(b)(l). (Temple’s Mot. to Dismiss 1, ECF No. 155.) On December 28, 2018, MS Amlin
joined Temple’s Motion to Dismiss arguing that “[tlhe arguments and legal authority set forth in
the Argurnent Section of Temple’s Memorandum . . . apply with equal force with respect to
MS Amlin[,]” and requested that the Court dismiss Counts One, Five, and Seven as to MS Amlin.6
(MS Amlin’s Mot. to Dismiss 5, ECF No. 161 .) Valeant opposed Temple and MS Amlin’s motions
(Valeant’s Opp’n Br., ECF No. 164), and Temple replied (Temple’s Reply Br., ECF No. 166).

Subsequent to Valeant filing the complaint initiating this action, Valeant settled the
2013-2014 Clairns for 396.25 million (the “Allergan Settlement Payment”). (Valeant’s Opp’n Br.
8,) Valeant avers that it “incurred more than 320 million in defense costs for the” 2013-2014
Claims. (Icl. at 2.) Valeant and Temple agree that Valeant cannot recover from Temple for the
Allergan Settlement Payment because the amount of the settlement falls below Temple’s coverage
limit. (See Temple’s Mov. Br. ll, ECF No. 155-l (“Without exhaustion of the $130 million limits
in Underlying lnsurance-whether paid by the underlying insurers or by the insured*'l`emple

simply has no obligation to provide coverage under its policy under any circumstances.”);

 

6 Because MS Amlin relies on Temple’s arguments, the Court finds that the same conclusions it
reaches as to Temple apply with equal force to MS Amlin. The Court, accordingly, does not
conduct a separate analysis regarding MS Amlin.

5

Case 3:18-cv-00493-|\/|AS-LHG Document 195 Filed 04/12/19 Page 6 of 14 Page|D: 5006

Valeant’s Opp’n Br. 14 (“Plaintiffs concede (and are happy to so stipulate) that they cannot recover
for the Allergan Settlement Payment from [Temple and MS Amlin].”).) The Court, accordingly,
dismisses Count Five with prejudice as to Temple and MS Amlin.
II. THE PARTIES’ POSITIONS

The parties’ primary dispute is whether there is a case or controversy within the meaning
of Article lll of the U.S. Constitution Such that the Court has subject matter jurisdiction over
Counts One and Seven. Temple’s position is essentially: because it would be impossible to impose
liability in Temple’s tier of coverage for the Allergan Settlement Payment there is no case or
controversy between Temple and Valeant and any decision by the Court relating to Temple’s
liability under the 2013-2014 Program would be advisory and unconstitutional. (Temple’s Mov.
Br. at 7-9, l l .) Temple insists that “federal courts across the country agree that claims asserted by
or against an excess insurer do not present an actual case or controversy where there is no
reasonable possibility that the excess insurer’s policy layer will be reached." (lcl. at 9 (citing
Certar`n Underwriters at Lloyd’s, Lonclon v. St. Joe Mr`ner¢rls Cc)rp., 90 F.3d 671, 676 (2d Cir.
1996); lolal) Corp. v. Seaboarcl Sur. CO., 15 F.3d 1500 (9th Cir. 1994); UMC/Stamford, lnc. v.
Alli'anz Underwrz`ters Ins. Co., 647 A.2d 182 (N.J. Super. Ct. Law Div. 1994)).)

In opposition, Valeant argues that “[w]hether [Temple and MS Amlin] are obligated to pay
a pro rata portion of Valeant’s defense costs for the Allergan Actions is plainly a justiciable case
or controversy[,l” and Temple has “ignore[d] the actual case or controversy that [Valeant] pled
with respect to coverage for the defense costs [Valeant] incurred” related to the 2013-2014 Claims.
(Valeant’s Opp’n Br. 4, ll (emphasis in original).) Valeant insists that if Quebec law applies,
Valeant is “entitled to payment of all of its defense costs outside of and without reducing the limits

of its insurance policies.” (Icl. at ll (citing Civil Code of Québec, S.Q. 1991, c 64, art 2500 (Can.).)

Case 3:18-cv-00493-|\/|AS-LHG Document 195 Filed 04/12/19 Page 7 of 14 Page|D: 5007

Specifrcally, Valeant argues that Articles 2500 and 2503 of Quebec’s Civil Code7 “override[] any
conflicting contractual provision[,]” and “although Quebec law is crystal clear that insureds are
entitled to payment of their defense costs without reducing the limits of their policies, it has not
been finally decided which insurers are responsible for covering those defense costs.” (Id. at 11~
12.)

Valeant argues that it sufficiently pled that the policies in the 2013-2014 Program are
governed by Quebec law and that it pled in the alternative in recognition of undecided Quebec
law. (ld.) Without citation, Valeant argues that “[s]ome Quebec courts have held that the primary
insurer . . . is responsible for covering all of the insured’s defense costs unless and until the primary
insurer has exhausted its limits paying covered settlement or judgment[.]” (Icl. at 12.) Valeant
insists that “other Canadian courts have held that, particularly where the underlying claim seeks
damages in excess of both the primary and excess insurer’s policy limits . . . equity requires that
the excess carriers should share in covering the costs of defending the insured on a pro rata basis.”
(lcl. (citing Broadnurst & Ball v. Amer. Home Assurance Co. (1990), l O.R. 3d 225 (Can. Ont.
C.A.); Arn. Hotne Assnrance CO. v. Temple lns. CO. (2009). 94 O.R. 3d 534 (Can. Orlt. Sup. Ct.
J-))~)

Valeant asserts that to resolve the controversy regarding defense costs, the Court will have
to “(l) make a substantive, legal and factual determination regarding whether the [policies in the
2013-2014 Program] are governed by Quebec law; and (2) make a substantive legal determination

as to whether Quebec law (or a different law) requires AIG Canada to pay all of [Valeant’s] defense

 

7 Article 2500 provides, “The proceeds of the insurance are applied exclusively to the payment of
injured third persons.” Civil Code of Que'bec, S.Q. 1991, c 64, art 2500 (Can.). Article 2503
provides, “Legal costs and expenses resulting from actions against the insured, including those of
the defence, and interest on the proceeds of the insurance are borne by the insurer over and above
the proceeds of the insurance.” Civil Code of Quebec, S.Q. 1991, c 64, art 2503 (Can.).

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Case 3:18-cv-00493-|\/|AS-LHG Document 195 Filed 04/12/19 Page 8 of 14 Page|D: 5008

costs or instead requires [Temple and MS Amlin] to share in making such payments pro rata.” (Icl.
at 13.) Valeant cautions that making such determinations at the motion to dismiss stage is “wholly
inappropriate.” (Ia’.)

ln reply, Temple argues that regardless of whether New Jersey, Ontario, or Quebec law is
applied, “Temple has no obligation to pay any portion of [Valeant’s] defense costs in connection
with the [2013-2014 claims] iri the absence of any potential coverage obligation.” (Temple’s
Reply Br. 4, ECF No. 166 (emphasis in original).) Temple discusses a number of American and
Canadian opinions in support of this proposition. (See id. at 4-6, (citing Firemen ’s lns. Co. of
Newark v. Nat’l Union Fire Ins. Co., 904 A.2d 754, 763 (N..l. Super. Ct. App. Div. 2006); Am.
lncleni. Lloyds v. Travelers Prop. & Cas. lns. Co., 335 F.3d 429, 443 (5th Cir. 2003); P.L. Kanter
Agency, lnc. v. Cont’l Cas. Co., 541 F.2d 519, 523 (6th Cir. 1976); Metzger v. Country Mnt. lns`
Co., 986 N.E.2d 756, 761 (lll. App. Ct. 2013); Olynipic Ins. Co. v. Emp ’rs Surplns Lt'nes Ins. Co.,
178 Cal. Rptr. 908, 912 (1981); Broaclhurst & Ball v. Arner. Honie Assurance Co. (1990), l O.R.
3d 225 (Can. Ont. C.A.); Am. Honie Assirrance Co. v. Temple Ins. Co. (2009), 94 O.R. 3d 534
(Can. Ont. Sup. Ct. J.); Allstate du Canada c. Assurance Royale du Canada (1994) R.J.Q. 2045,
ajf’d (1999) R.J.Q. 2827 (QCCA).) Temple avers that the only relevant issue is whether Valeant
“may maintain a coverage action against an excess insurer when the underlying litigation has been
definitively settled for an amount far below the excess insurer’s policy layer[,]” and the answer to
this question is that Valeant “may not” maintain such a suit." (Icl. at 8.)
III. LEGAL STANDARD

Because federal courts are courts of limited jurisdiction, the party seeking to invoke the
Court’s jurisdiction bears the burden of proving the existence of subject matter jurisdictionl See
Kokkonen v. Guardian Lr'fe Ins. Co. ofArn., 51 l U.S. 375, 377 (1994). Under Rule l2(b)(1), the

court’s jurisdiction may be challenged either facially (based on the legal sufficiency of the claim)

8

Case 3:18-cv-00493-|\/|AS-LHG Document 195 Filed 04/12/19 Page 9 of 14 Page|D: 5009

or factually (based on the sufficiency of a jurisdictional fact). Goulcl Elecs. lnc. v. United States,
220 F.3d 169, 176 (3d Cir. 2000). On a facial attack, the Court considers only the allegations of
the complaint and documents referenced therein, construing them in the light most favorable to
the plaintiff Pearson v. Cliugach th. Svcs. lnc., 669 F. Supp. 2d 467, 469-70 (D. Del. 2009). On
a factual attack, “no presumptive truthfulness attaches to [the] plaintiffs allegations, and the
existence of disputed material facts will not preclude the trial court from evaluating for itself the
merits of jurisdictional claims Moreover, the plaintiff will have the burden of proof that
jurisdiction does in fact exist.” Mortensen v. First Fea'_ Sav. & Loan Ass 'n, 549 F.2d 884, 891 (3d
Cir. 1977).

Article lll of the United States Constitution confines the scope of federal judicial power to
the adjudication of “cases” or “controversies.” U.S. Const. art. lll, § 2. “No principle is more
fundamental to the judiciary’s proper role in our system of government than the constitutional
limitation of federal-court jurisdiction to actual cases or controversies.” Spokeo, lnc. v. Robins,
136 S. Ct. 1540, 1547 (2016), as revised (May 24, 2016) (quoting Rai'nes v. Byrd, 521 U.S. 811,
818 (1997) (citations and alterations omitted)).

The existence of a case or controversy, . . . requires (l) a legal controversy that is

real and not hypothetical, (2) a legal controversy that affects an individual iii a

concrete manner so as to provide the factual predicate for reasoned adjudication,

and (3) a legal controversy with sufficiently adverse parties so as to sharpen the
issues for judicial resolution.

Renclell v. Runis_)%'lcl, 484 F.3d 236, 240 (3d Cir. 2007) (quotation marks and citations omitted).
Federal courts, as courts of limited jurisdiction, presume a lack ofjurisdiction. Kokkonen, 511
U.S. at 377. “Under [Rule] l2(h)(3), ‘[i]f the court determines at any time that it lacks subject-
matter jurisdiction, the court must dismiss the action.”’ Chi`n v. Xerox Corp., No. 11~3069, 2012
WL 6027169, at *4 (D.N.J. Dec. 4, 2012) (second alteration in original) (quoting Fed. R. Civ. P.

l2(h)(3)).

Case 3:18-cv-00493-|\/|AS-LHG Document 195 Filed 04/12/19 Page 10 of 14 Page|D: 5010

The federal Declaratory Judgrnent Act8 (the “DJA”} provides:

ln a case of actual controversy within its jurisdiction, . . . any court of the United

States, upon the filing of an appropriate pleading, may declare the rights and other

legal relations of any interested party seeking such declaration, whether or not

further relief is or could be sought.
28 U.S.C. § 2201(a) (emphasis added). When considering whether there is an actual controversy
under the DJ'A, “the question in each case is whether the facts alleged, under all the circumstances,
show that there is a substantial controversy, between parties having adverse legal interests, of
sufficient immediacy and reality to warrant the issuance of a declaratory judgment.” Beni'hana of
Tokyo, lnc. v. Benr`hana, Inc., 622 F. App’x 169, 174 (3d Cir. 2015) (quoting Mcl. Cas. Co. v. Pac.
Coal & Oi`l Co., 312 U.S. 270, 273 (1941)). “This is not a bright-line test.” Eclmuncls Holcltng Co.
v. Autobytel lne., 598 F. Supp. 2d 606, 609 (D. Del. 2009). “The difference between an abstract
question and a ‘controversy’ contemplated by the [DJA] is necessarily one of degree, and it would
be difficult, if it would be possible, to fashion a precise test for determining in every case whether
there is such a controversy.” Md. Cas. Co., 312 U.S. at 273. The party seeking the declaratory
judgment bears the burden of proving, “by a preponderance of the evidence, that there is an actual

controversy between the parties.” Beriiliana of Tokyo, Inc.` 622 F. App’x at 174. “[W]hen the

merits and jurisdiction are closely related, a court may determine subject matter jurisdiction

 

8 “Under the Erie doctrine, federal courts sitting in diversity apply state substantive law and federal
procedural law.” Gasperz'nt` v. Ctr. for Hamani'ti'es, Inc., 518 U.S. 415, 427 (1996). The federal
Declaratory Judgrnent Act (“DJA”) and the New Jersey Declaratory Judgment Act are procedural
in nature. See Aetna Lr'fe Ins. Co. v. Haworth, 300 U.S. 227, 240 (1937) (“The operation of the
[DJA] is procedural only.”). Accordingly, when a plaintiff seeks a declaratory judgment under
state law and the action is removed to federal court, as occurred in the instant mater, the matter “is
treated as though it had been filed under the [DJA].” BCB Bancorp, [nc. v. Progressr`ve Cas. lns.
Co., No. 13 1261, 2013 WL 8559731, at *3 (D.N.J. Oct. 8, 2013) (citation omitted); Kelly v,
Maan Specialtv Ins. Grp., 868 F,3d 274, 281 n.4 (3d Cir. 2017) (“[W]e agree with the District
Court that because federal courts apply federal procedural law in federal actions, the DJA and not
state declaratory judgment law supplies the procedural law that governs this case. This is
notwithstanding the fact that the relief sought in the removed Declaratory Action was requested
under the Pennsylvania Declaratory Judgments Act . . . .”).
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Case 3:18-cv-00493-|\/|AS-LHG Document 195 Filed 04/12/19 Page 11 of 14 Page|D: 5011

without reaching the merits, so long as the court ‘demand[s] less in the way of jurisdictional proof
than would be appropriate at a trial stage.”’ Goula' Elecs. lnc., 220 F.3d at 178 (second alteration
in original) (quoting Mortensen, 549 F.2d at 891).
IV. ANALYSIS

The core proposition of Temple’s motion is that there are no facts or legal theories from
Which the Court could conclude that Temple has an obligation to pay Valeant’s defense costs
related to the 2013-2014 Claims. The Court, accordingly, construes Temple’s motion as a factual
challenge Because Temple advances a factual challenge no presumption of truth attaches to
Valeant’s factual allegations and Valeant bears the burden of establishing that there is a case or
controversy See Mortensen, 549 F.2d at 891 . Moreover, the Court may consider evidence outside
of the pleadings 9 CNA v. United States, 535 F.3d 132, 145 (3d Cir. 2008), as amended (Sept. 29,
2008) (“The District Court [is] permitted to make factual findings, beyond the pleadings, that [are]
decisive to determining jurisdiction.”).

The Court finds that, pursuant to the DJA, Valeant has established that there is an “actual
controversy” between it and Temple regarding Temple’s liability, if any, for defense costs.10 The
Court, similarly, finds that there is a controversy between the parties regarding Valeant’s breach

of contract claim. The Court addresses each issue in turn.

 

9 The Court has reviewed and considered the Declarations of John Vukelj and Christopher T.
Conrad and the exhibits attached thereto. (Decl. of J ohn Vukelj, ECF Nos, 155-2 to 155-16; Decl.
of Christopher T. Conrad, ECF Nos. 161-1 to 161-3.)

10 There can be no reasonable dispute over Whether Valeant and Temple have “adverse legal
interests” as Valeant is seeking coverage under the Temple Policy for defense costs and Temple is
denying it has any liability for said costs. Moreover, the evidence before the Court establishes that
the 2013-2014 claims have been resolved between Valeant and the plaintiffs in those actions and
the Court infers that the defense costs for the 2013-2014 claims have been paid by Valeant or are
owed by Valeant. Thus, the issues are immediate and real.

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Case 3:18-cv-00493-|\/|AS-LHG Document 195 Filed 04/12/19 Page 12 of 14 Page|D: 5012

ln the Complaint, Valeant averred that the policies in the 2013-20l4 Program are governed
by Quebec law and that Articles 2500 and 2503 require the 2013-2014 lnsurers to pay Valeant’s
defense costs without a reduction in the coverage limits of the 2013-2014 Program. (Compl.
llll 91-95.) Temple has not provided the Court binding or persuasive authority refuting Valeant’s
argument that Articles 2500 and 2503 could be interpreted to require that Temple pay certain
defense costs. F or purposes of considering the instant motion, a reading of both provisions lends
credence to Valeant’s interpretation Valeant’s interpretation of Articles 2500 and 2503, however,
leads to a curious result. Specifically, Articles 2500 and 2503 may be in conflict with the definition
of“Loss” in the AIG Policy because the definition of loss includes defense costs. Put another way,
by treating Valeant’s defense costs for the 2013~2014 Claims as a Loss under the 2013-2014
Program, the 2013-2014 Program may run afoul of Articles 2500 and 2503 by reducing the amount
of available coverage under the 2013-2014 Program. Given the fact that the AIG Policy contains
a conformance clause requiring the policy to be interpreted in conformance with Quebec law, and
the other policies in the 2013-2014 Program ostensibly incorporate the conformance clause, the
impact, if any, of Articles 2500 and 2503 is a significant issue in controversy between the parties
and at the heart of Valeant’s claims.

Both parties cite Canadian cases that the Court finds inapposite Valeant cites Broadliarst
& Ball(l990) l O.R. 3d 225 (Can. Ont. C.A.) and American Horne Assurance Co., (2009) 94 O.R.
3d 534 (Caii. Ont. Sup. Ct. J.), in support of the proposition that an excess insurer can be liable for
a pro rata share of defense costs. (Valeant’s Opp’n Br. 12.) Temple opposes this statement of the
law, claiming that the same cases stand for the “principle that an excess insurer has no obligation
to share in defense costs where there is no possibility that the underlying insurance layers will be
exhaustedl (Temple’s Reply Br. 5-6.) Temple also cites to Allstate du Canada c. Assnrance

Royale du Canada (1994) R.J.Q. 2045, aj"'a' (1999) R.J.Q. 2827 (QCCA), as “decisional law [that
12

Case 3:18-cv-00493-|\/|AS-LHG Document 195 Filed 04/12/19 Page 13 of 14 Page|D: 5013

isl even worse for [Valeant].” (Ia'. at 6 n.4.) ln each of these cases, the insurer had a duty to defend
the insured party. Here, in contrast, the duty to defend is expressly excluded from the policies in
the 2013-2014 Program. Neither Valeant nor Temple has addressed how an insurance policy that
expressly excludes the duty to defend would be interpreted in light of the Canadian precedent
proffered to the Court. At best, the cases the parties cite reveal that the Canadian courts employ a
highly fact-specific approach that this Court finds more appropriately applied at summary
judgment

Ultimately, Temple’s arguments reduce to the proposition that there is a legal certainty that
Temple will never be required to pay for the defense costs associated with the 2013-2014 Claims.
While this position may ultimately prove to be true, the Court finds that Valeant has sufficiently
pled a controversy requiring a declaratory judgment on the issue.

Tuming to Count Seven, breach of contract, Temple’s argument in support of dismissal
fails. Temple’s argument that “[h]ecause [it] could never be responsible for coverage of the
[2013-2014 Claims], there is no ‘case’ or ‘controversy’ between [Valeant] and Temple as to those
claims, and Temple could not have breached a non-existent obligation to provide coverage for
those claims[,]” ignores the actual claim Valeant brings and the factual timeline of the matter.
(Temple’s Moving Br. 7.) Valeant avers that it provided Temple, and the other insurers, timely
notice of the 2013-2014 Claims and that the insurers denied coverage of those claims. (Compl.
ll 78.) Valeant asserts that 2013-2014 lnsurers breached their respective contracts by
(l) “wrongfully denying coverage for the [2013-2014 Claims],” (2) “failing to pay Defense Costs
for the [2013-2014 Claims],” and (3) “refusing to pay defense costs outside of the limits of the”
2013-2014 Program. (Itl. ll 129.) Thus, Valeant seeks damages for an alleged breach of the Temple
Policy for Temple’s initial denial of coverage for the 2013-2014 Claims. The fact that the Allergan

Settlement Payment does not trigger Temple’s tier of coverage does not moot the controversies

13

Case 3:18-cv-00493-|\/|AS-LHG Document 195 Filed 04/12/19 Page 14 of 14 Page|D: 5014

over whether Temple’s initial denial of coverage was wrongful and whether Temple is liable for
any damages flowing from that initial denial of coverage The cases Temple cites do not suggest
a different result because in each there is no indication that the plaintiff asserted a breach of
contract claim or that the Court was dismissing the breach of contract claim on the basis that there
was no case or controversy as to the same claim. (Tcmple’s Moving Br. 9.) The Court,
accordingly, finds that there is a real controversy between Valeant and Temple, two adverse
parties, regarding whether Temple breached the Temple Policy in the manner Valeant identified
in the Complaint.
V. CONCLUSI()N
For the foregoing reasons, Temple’s Partial Motion to Dismiss Counts One and Seven of

Valeant’s Complaint, joined by MS Amlin, is deniedl Temple’s Partial Motion to Dismiss Count
Five is granted Count Five is dismissed with prejudice as to Temple and MS Amlin. An order
consistent with this Memorandum Opinion will be entered.

s/ Michael A. Shipp

MICHAEL A. SHrPP

UNlTED STATEs DisTRrCT JUDGE

Dated: April 12, 2019

14

